           Case 1:21-cv-10059-RGS Document 42 Filed 08/24/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


Marla Bush et al
Individually and on behalf of all others
similarly situated

               Plaintiffs

      v.                                              Civil Action No. 1:21-10059-RGS

WellPet, LLC

               Defendant

                                ORDER OF DISMISSAL

                                    August 24, 2021

STEARNS, D.J.

      In accordance with the court’s Electronic Order [Dkt. 41] entered on August 24,

2021, granting Defendant’s Motion to Dismiss, it is ORDERED that the above-entitled

action be, and hereby is, dismissed with prejudice.



                                                            By the court,

                                                            /s/ Arnold Pacho
                                                            Deputy Clerk
